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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                    4:09CR3031
                                            )
              V.                            )
                                            )
MICHAEL KONING,                             )                      ORDER
LOWELL BAISDEN,                             )
SUSAN BAISDEN-KONING,                       )
                                            )
                     Defendants.            )
                                            )


       IT IS ORDERED that the motion and amended motion (filings 167 and 168) to file
a six page response is granted to the extent that the court will consider these filings as one
six page brief. The motions are otherwise denied.

       DATED this 2nd day of February, 2011.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
